Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 1 of 40




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.: 04-60001-CR-COOKE/(s)(s)(s)(s)(s)


    UNITED STATES OF AMERICA,               :

                  Plaintiff,                :

                  v.                        :

    ADHAM AMIN HASSOUN

                  Defendant.                :
                                            :


                   _________                                         ___________

                              DEFENDANT HASSOUN’S
                             OBJECTIONS TO REVISED
                        PRESENTENCE INVESTIGATION REPORT1
                  __________                         __________

           Defendant Adham Amin Hassoun, through undersigned counsel, hereby files his

    objections to the Revised PSI Report and Addendum.2




           1
             In order to provide the Court with a single pleading setting forth all of Hassoun’s
    objections to the PSI, as revised, Hassoun repeats herein all of the objections
    contained in (1) his “Objections to Presentence Investigation Report” [DE 1264] (as
    originally filed except for correcting a number of spelling, typographical and formatting
    errors), (2) the two corrected pages he separately filed [DE 1267], and (3) the
    Supplement to his PSI Objections [DE 1275]. In addition, Hassoun adds new objections
    in response to the Revised PSI to new ¶176 and to the Addendum.
           2
            Hassoun separately filed a request, pursuant to United States v. Booker, 543
    U.S. 220 (2005), and Rita v. United States, 127 S.Ct 2465 (2007), that the Court
    sentence him below his advisory sentencing-guideline range based on the sentencing
    factors set forth in 18 U.S.C. §3553, as well as a request for a downward departure
    under §5K2.10 (Victim’s Conduct).
                                                 1
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 2 of 40




    PART A: THE OFFENSE

           Preliminary Statement:

           Defendant Hassoun acknowledges the jury’s verdict and recognizes that his

    disagreement with that verdict is not before this Court at this time. However, even

    accepting that verdict for purposes of sentencing, defendant submits that The Offense

    section of the PSI is filled with factual inaccuracies, biased interpretations and

    assertions not proved at trial. While it may not be necessary for the Court to resolve all

    of these factual disputes, it is necessary for the Court to have an accurate picture of

    what has been proved – versus the government’s inflammatory, unsupported,

    speculative assertions – in order to impose a fair and reasonable sentence in this case.

           Charge(s) and Conviction(s)

           Objection to PSI ¶1, page 4:

           Hassoun objects to the use in ¶1 of the terms “terrorism” and “terrorists” to

    describe the charges in Counts Two and Three, respectively, as these terms were

    redacted from the Indictment, at the government’s request, before the Indictment went

    to the jury and, therefore, were not part of the charges considered by the jury.

           The Offense Conduct

           General Objection to PSI ¶¶ 3-10, pages 4-6:

           Hassoun objects to the description of the so-called “wider theological, ideological,

    and geopolitical context” that is given in paragraphs 4 through 10. As stated below

    these paragraphs contain misinformation, misconceptions, and inaccuracies.          These

    topics and issues surrounding the Global Salafi-Jihad Movement have not been

    described accurately in this PSI. If anything, the offense conduct should be limited to

                                                 2
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 3 of 40




    the facts of the offense of conviction and should not contain this attempt at a “Cliff

    notes” version of a very complicated historical period.

           Objection to PSI ¶4, page 4:

           Hassoun objects to the entirety of ¶ 4. In a sweeping over-generalization, based

    upon an exaggerated, distorted, and one-sided, biased view of the Islamic religion, this

    paragraph wrongly condemns a huge portion of the world as supporters of “murder,

    maiming and kidnaping.” (It is no excuse that this paragraph parrots ¶¶1 and 3 of the

    Indictment since those Indictment-paragraphs should have been struck as surplusage –

    as inflammatory, prejudicial and irrelevant to the charged offenses.)

           Objections to PSI ¶¶5-7, page 5:

           Hassoun objects to all of the characterizations of Sheikh Azzam’s views in ¶¶5-7

    as these paragraphs are exaggerated, distorted, one-sided and biased and in many

    particulars completely inaccurate. Specifically, the statement that “Azzam’s life revolved

    around a single goal, the establishment of Allah’s rule on earth” is an incorrect

    statement of his views. This was not what he advocated. Furthermore, the quote in

    paragraph 5 that begins “jihad and the rifle alone…” is taken out of context and should

    not be seen as representing his views in general. This one sound-bite statement cannot

    be used as a general statement of his views or as a generalization of the views of

    Hassoun simply for quoting Azzam. This statement was made during the period when

    the Soviet Union launched an aggressive invasion against Afghanistan, an Islamic

    country.   The invasion was opposed by the Muslim countries and by the western

    countries, including the United States.      The United States, together with Muslim




                                                3
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 4 of 40




    countries, poured millions of dollars into the training and arming of the Arab mujahideen

    who fought in the jihad against the Soviet Union.

           In the quote in ¶6, Azzam mentions the obligation of all Muslims to help fellow

    Muslims whose homelands are occupied. This statement is consistent with the beliefs

    in the Muslim religion. It is not a radical idea, nor is it anti-western. Additionally, it is not

    indicative of the global Salafi-jihadist views described in the PSI.          Azzam opposed

    expanding jihad to other countries and was killed by those who disagreed with him.

           Hassoun disagrees with the statement that Abdullah Azzam is the radical

    spiritual leader of such people as Osama Bin Ladin. It is incorrect to say there is a

    linear connection between Abdullah Azzam and Osama Bin Ladin, as the views of Bin

    Ladin after Azzam’s death were drastically different than Azzam’s own views.                The

    views of Azzam are not accurately portrayed in this PSI.

           Some key points about Azzam that are omitted from these paragraphs – even

    though conceded by the government’s so-called “expert,” Rohan Gunaratna – are as

    follows: Azzam’s jihad “campaign” in Afghanistan received strong support from the U.S.

    government as well as many individuals in the United States (Tr.7/02/07:105); Al Qaeda

    was created behind Azzam’s back, at a meeting in August 1987 at which Azzam was

    not only absent, but was criticized for the way in which he ran MAK (id. at 109-110);

    Azzam and Usama bin Ladin “argued” and “parted company” over what the mujahideen

    should do (id. at 134-135); “Azzam envisioned an organization that would channel the

    energies of the mujahideen into fighting on behalf of oppressed Muslims....” (id. at 115);

    “Azzam said [that] killing civilians was...not permissible [under] the Koran” (id. at 118

    (emphasis added), see 134); “Azzam vehemently opposed the use of terrorist tactics”

                                                   4
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 5 of 40




    (id. at 108 (emphasis added), see 133) and, in fact, “refused to give to Osama bin

    Laden a training camp that Osama bin Laden wanted to use for terrorist tactics training

    (id. at 137); during his life, Azzam “wanted to focus on Afghanistan,“(id. at 134, see

    108), in contrast to bin Ladin who “wanted to focus on Egypt and other theaters of

    conflict at that time” (id. at 134); and, finally, “Azzam was assassinated because he

    opposed Osama bin Laden's vision” on these matters (id. at 135 (emphasis added)).

    Furthermore, defense witness Ra’ed Awad, who knew Azzam personally, testified that

    Azzam was a “sincere dev[out] righteous Muslim[ ] who loved his faith[,]...his community

    and...humanity in general[, who]...wanted nothing but goodness for people.....[and who]

    encouraged people to defend themselves.“ Tr.7/24/07:66-67.

          Objections to PSI ¶¶ 9, page 5:

          The statement that Sheik Omar Rahman assumed the role of spiritual leader of

    the global jihad with the death of Azzam is incorrect as there was no connection

    between Azzam and Rahman.       As stated above, Azzam was not the spiritual leader a

    global Salafi-jihad and there was no connection between Azzam and Rahman (who

    associated with the Egyptian Islamic Group.) Azzam was not part of the Egyptian I.G.

    movement.     Azzam and Rahman were not part of an overall global conspiracy as

    described in the offense conduct, nor were Azzam and Bin Ladin connected in this

    overall global conspiracy.

          Furthermore, the Federal case involving the Al-Kifah Refugee center and the

    planned bombing of New York City landmarks has nothing to do with this case. The

    events and details of that case are not part of this indictment nor can these events be

    considered relevant conduct. This paragraph should not be included in the PSI .

                                               5
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 6 of 40




           Objections to PSI ¶10, page 6:

           The Defendant objects to this paragraph as it completely exaggerated the

    influence of Al Qeda in the Muslim communities. In particular, the following statements

    that begin with “Al Qaeda successfully radicalized and mobilized the Islamic diaspora

    into small groups or cells… One such cell identified by the FBI…consisted of the

    defendants and others” is completely incorrect. It is an inaccurate description about the

    effect of, or linkage between Al Qaeda and the Muslim diaspora as a whole. It is also a

    misstatement about Hassoun. There is no evidence that Hassoun was part of a cell that

    was “radicalized and mobilized” by Al Qaeda. In fact, The 911 Commission Report did

    not mention the Hassoun or any of the co-defendants in this case as cell members

    under the influence of Al Qaeda.

           Objection to PSI ¶11, page 6:

           Hassoun objects to the assertions in ¶11 that he ever provided any “support” to

    anyone “for the purpose of establishing Islamic states governed by Islamic law,” or that

    he ever provided any “support” to “mujahideen guerilla groups and [/or] terrorist groups”

    for any purpose, or that he ever provided any “support” to anyone for the purpose of

    “intimidating and coercing, through the use of physical force and violence (violent jihad),

    existing governments, individuals and institutions that did not share [his] view of Islam.”

           There was no evidence that any checks Hassoun wrote, or funds or other items

    he discussed in various calls, were ever transmitted to any location overseas for the

    purpose of “establishing Islamic states” or for the purpose of “intimidating [or] coercing”

    governments through “violent jihad” – or through any other means. At all times when

    Hassoun sent or discussed sending money or other items to particular places, atrocities

                                                 6
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 7 of 40




    were being committed against Muslims in those places and/or relief operations were

    under way to aid Muslim victims and refugees in those places. A desire to aid Muslims

    who were under attack respond by “opposing” their attackers is not equivalent, legally or

    factually, to having a purpose of “intimidating [or] coercing” governments nor is it

    equivalent to “violent jihad.”

           Objections to references throughout PSI :

           Hassoun objects to any reference or statement in this PSI that he supported

    “violent jihad” as a means to establish Islamic states governed by Sharia. Hassoun may

    have expressed support for the mujahideen but it was in their effort to defend or aid

    Muslims who were victims of aggression. Furthemore, when Hassoun used the word

    “jihad” it did not have the violent jihad connotation that the government has given to it.

    Furthermore, Hassoun objects to any reference or statement in this PSI that he ever

    recruited anyone to participate in violent jihad.   He never exercised any influence or

    control over anyone to the extent that would be necessary to conclude that he

    “recruited” anyone to become a murderer, kidnapper or maimer.

           Objections to PSI ¶13, page 7:

           Hassoun objects to several assertions in ¶13 as inaccurate. Hassoun did not

    distribute the Islam Report, although he did distribute other magazines. He also did not

    go on “fund-raising tours to support Islamic fighters,” although he did fund-raise to help

    Muslims who were victims of aggression in various parts of the world.          As stated

    elsewhere in these Objections, Hassoun never “recruited” anyone to participate in

    “violent jihad” and he had no knowledge or awareness that anyone to whom he gave




                                                7
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 8 of 40




    financial support, including Youssef and Padilla, ever engaged in “violent jihad.” (See

    Hassoun’s, infra, at 25-27 for further discussion of this point).

           Additionally, as stated elsewhere in these Objections, when Hassoun “professed”

    to being in MAK, he was puffing. There is no evidence that he ever communicated with

    MAK, nor is there any corroborating evidence that he was a representative of MAK.

    Furthermore, Hassoun did not “publically profess” to being a “representative of al least

    six different mujahideen groups.” The actual statement that Hassoun made during his

    speaking engagement at Barry University on February 13, 1996 is quoted in PSI ¶74.

    In that statement, which Hassoun made in response to a hostile question from a

    member of the audience, Hassoun referred to being a representative of “six different

    organizations,” not “six different mujahideen groups.” Moreover, Hassoun’s references

    to “mujahideen” in that statement do not evidence any intent to support “violent jihad”:

    the “mujahideen...in Bosnia” were a recognized part of the Bosnian government’s armed

    forces and by 1996 Bosnia was at peace in any event; and Hekmatyar became Prime

    Minister of Afghanistan during that period and actively opposed the Taliban, which

    aligned with Al Qaeda.

           Objections to PSI ¶ 57, page 15:

           Hassoun objects to the description of Usbat Al Ansar as “a violent jihad group

    and affiliate group of Al Qaeda….during the 1990’s.” During this period, Usbat was a

    small fringe Palestinian group that was concerned about intra-Palestinian affairs. It had

    no global jihadist agenda during the period that is relevant to this case. Its focus during

    the 1990’s was in opposing the Lebanese authorities who, it believed, were oppressing




                                                  8
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 9 of 40




    the Palestinian population.   It was also concerned with the intra-Palestinian politics

    involving the control of the Palestinian camp where it was based.

          Objections to PSI ¶60, pages 15 - 16:

          Hassoun objects to the implication in this paragraph that he was serious when he

    made these remarks about Abu mohjen and his group. As his father-inllaw testified,

    Hassoun was joking when he said these things.

          Objection to PSI ¶71, page 17:

          Hassoun objects to several parts of this paragraph which attempts to summarize

    testimony of Herbert Atwell regarding speeches Hassoun gave at the mosque about

    mujahideen. This paragraph mischaracterizes the testimony of Atwell as “consistent

    with other evidence introduced at trial, demonstrating Hassoun advocated the same

    global-Salafi jihad ideology as Sheik Azzam, Sheik Rahman and Usama bin Laden.”

    This paragraph also incorrectly states that “Like these radical Islamists, Hassoun

    supported violent jihad as a means to establish Islamic states governed by Sharia.” In

    fact, Atwell specifically testified that he understood the mujahideen to be “freedom

    fighters” who during this time period (1997-2001) were helping to defend Muslims who

    were under attack in different parts of the world, and he further understood that

    becoming a mujahideen had nothing to do with becoming a terrorist. (Tr. 06/04/07:24-

    25). Additionally, according to Atwell, Hassoun never talked to anyone about becoming

    a terrorist and never recruited anyone to become a terrorist; rather, Hassoun talked

    about helping Muslims who were suffering in various parts of the world. (Tr.

    06/04/07:28). Atwell testified that when Hassoun talked about the atrocities that were

    occurring in Chechnya, Bosnia, and Kosovo, as well as other parts of the world, he

                                               9
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 10 of 40




     would speak about it with emotion.       Atwell described how Hassoun showed video

     footage of atrocities that happened to Muslim women in Chechnya and Afghanistan who

     “were being raped and shot in the leg.” Id.

            The testimony by Atwell is not at all consistent with global-Salafi jihad ideology as

     advocating the use violence waged by mujahideen as a means of establishing Islamic

     states through violent jihad, or through murder, maiming and kidnapping.             Atwell

     described Hassoun’s talks as about helping Muslims and defending Muslims, not about

     using violence to establish Islamic states.        To the extent violence is a part of any

     mujahideen activity, it was to defend Muslims communities under attack in areas such

     as Bosnia, Kosovo, Chechnya where the population was persecuted.

            Furthermore, Hassoun objects to the claim in this paragraph that “evidence at

     trial, demonstrate[ed] [that] Hassoun advocated the same global-Salafi jihad ideology

     as…Azzam, …Rahman and …bin Laden….[and] supported violent jihad as a means to

     establish Islamic states governed by Sharia."       As stated above (objections to ¶¶ 5-7),

     Azzam did not advocate global jihad to establish states governed by Sharia. This is a

     major misinterpretation of the views of Azzam that has been repeated throughout this

     PSI. Also, there was no link between the views of Azzam and Rahman, and no link

     between the views of Azzam and Bin Ladin, particularly after 1991 when Bin Ladin

     begins to become more radical. Finally, as mentioned above, Hassoun’s talks with

     others in the mosque were not about supporting global Salafi-violent jihad to establish

     Islamic states governed by Sharia.      He spoke about aiding Muslims who were the

     victims of aggression and atrocities by foreign countries, such as Serbia and Russia.




                                                   10
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 11 of 40




               Objection to PSI ¶72, page 17:

               Information from Kamal Al Naji (incorrectly spelled in the PSI as “Alanaji”) states

     that Hassoun was the leader of an informal prayer group, known as the Righteous

     Group, that occasionally met at the Mosque. Hassoun objects to the statement that

     “Hassoun primarily preached about the individual’s duty to participate in violent jihad

     (fighting) in such areas such as Afghanistan.” Al Naji defined “jihad” as he used that

     word to mean:

               Q: and when we talk jihad, particularly relating to Mr. Hassoun, was he
               referring to the military version of Jihad, the actual arm fighting?

               A: It’s not always the way I understand it from him. I mean, he was
               focusing a lot on the jihad, the fighting, but he told us that Jihad is to
               protect innocent people, either by going and help or give money or give,
               collect food, clothes or jus praying from the people.


     (Grand Jury 09/16/04, at 9).

               Hassoun objects to the statement that “Hassoun would most often refer to or

     quoted the teachings of Sheik Azzam on the subject of jihad” insofar as that is

     incorrectly intended to mean that Hassoun equated “jihad” with “violent jihad.” When

     Hassoun used the word “jihad,” he did not use it in the sense of “terrorism” or “murder”

     but, rather, in the sense of protecting innocent Muslims who were victims of aggression.

     According to Al Naji, when he referred to the teachings of Azzam, he did not mean jihad

     to mean terrorism or murder. (Grand Jury, 05/23/03 at 24). According to Al Naji, while

     Hassoun may have talked about defensive jihad in the military sense at these prayer

     meetings, Al Naji described his preaching as urging that they give help with non-military

     things.



                                                   11
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 12 of 40




                   He continued, but not to push. Again he always - - again, it’s
                   not with jihad, he always said pray for them, give clothes,
                   whatever they need.”

     (Grand Jury, 05/08/03 at 24.)

            Furthermore, Al Naji never said that Hassoun preached about a duty to

     participate in the “violent jihad in Afghanistan or Somalia.”

            Objection to PSI ¶¶ 74, and 75, pages 7 and 18:

            Insofar as Hassoun “professed” being in MAK or representing other groups, he

     was doing nothing more than puffing.         There was no corroborating evidence that he

     was a representative of MAK.

            Objection to PSI ¶76, page 18:

            The radio address discussed in this paragraph was concerned with the

     occupation of Palestinian areas and Hassoun’s comments were directed to the land

     dispute in that area. With the exception of Chechnya, none of the countries mentioned

     in this radio address have anything to do with this case: Kashmir, Cyprus, Palestine,

     and Andalusia. This radio address has been taken out of the context; it concerns a

     different issue that is not part of this case.    Hassoun objects to this paragraph.

            Objection to PSI ¶77, page 19:

            Hassoun objects to the description in this paragraph of the conflict in the Ogaden

     region as involving a “multinational terrorist group [that]…sought to establish an Islamic

     state in this region by attacking the Christian Orthodox Ethiopian forces.”

             First, this was a regional conflict between Ethiopia and Somalia.              Hassoun

     objects to the omission from this paragraph that Ethiopia had been engaged in long-

     term repression of Somalia Muslims and that Ethiopian forces had invaded Somalia.

                                                      12
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 13 of 40




     The fighting was about territory and not about creating an Islamic state. This conflict

     was not about Christians versus radical Muslims, as the PSI portrays it.

           Second, Hassoun disputes the labeling of Al-Ittihad al-Islami as a multinational

     terrorist group, giving the impression it was under the influence of Al Qaeda. The West

     Point Study shows that Al Qaeda failed to gain a foothold in Somalia in the 1990’s, and

     by 1996 and 1997 the Al-Ittihad al-Islami was not controlled or even influenced by Al

     Qaeda. This paragraph over simplifies and distorts the conflict in this region.

           Objection to PSI ¶78, page 19:

           Hassoun objects to the use of the term “directed” to describe Hassoun’s

     communication to Youssef. As is clear from the context of the call, Hassoun at most

     encouraged Youssef to go to Somalia; he did not “order” him to do so.

           Following PSI ¶80, the following information should appear on page 19:

           The December 31, 1996, call shows that Hassoun first learned of the group Al-

     Ittihad al-Islami just a few days earlier in a press release from Reuters. There was no

     evidence that Hassoun ever had any contact with this group. Furthermore, the call

     shows that he wanted Youssef to go there to gather the news, stating “I mean you

     would be a news correspondent…press is an important thing.”

           Objection to PSI ¶87, page 20:

            Hassoun objects to the sentence beginning “Youssef put the brother on the

     phone with Hassoun…” in that Youssef did not use the words “spy or infiltrator.” He

     said the following: “There is no penetration, no, he is one of us.”        It is clear that

     Youssef meant that the Egyptian authorities or some opposing group had not

     penetrated his circle. Egypt was a very repressive country where there is very little

                                                 13
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 14 of 40




     tolerance for political dissention and where the expression of religious or political views

     different from the Egyptian government is not allowed, in contrast to the United States,

     where diverse views are permitted.

            Objection to PSI ¶88, page 20:

            Hassoun objects to the implication this paragraph is trying to draw from Padilla’s

     comment about “Youssef talk[ing] too much.” This comment relates to the fact that the

     Egyptian authorities routinely listened to telephone calls and that Youssef could have

     problems with the Egyptian authorities, not because he was breaking any United States

     laws but because the Egyptian authorities would not like his activities.

            Objection to PSI ¶89, page 21:

            This paragraph mischaracterizes Hassoun’s call with Youssef and the

     surrounding activities and gives the impression that Hassoun is part of the planning and

     acting as an advisor. When Hassoun asked Youssef “what the plan was,” it is clear that

     Hassoun was resuming a conversation they had begun earlier in which Youssef had

     described what he was planning to do. The questions Hassoun asked were simply for

     the purpose of getting information. The statement “Hassoun and Youssef discussed

     Hassoun sending $5,000 for tickets” leaves out additional information. It appears that in

     this call, Yousseff asked Hassoun for help in raising the money for their transportation.

     Yousseff said that normally these expenses would be covered by Zakat (charity

     donations) but Youssef could not raise it. Youssef mentioned that he needed “capital”

     for the tickets and Adham said he would try to raise the money.




                                                 14
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 15 of 40




            Objection to PSI ¶93, page 21:

           The statement in this paragraph that “Hassoun instructed Youssef to call him as

     soon as he arrived there” is not accurate. Hassoun actually said to Youssef, “but it is

     important that you (plural) call me when you arrive there god willing.”      This term

     “instructed” mischaracterizes Hassoun as someone who was instructing or giving orders

     to Youssef. This was not the case.

           Objection to PSI ¶94, page 22:

           In this paragraph, the sentence “Hassoun cautioned Youssef not to mention

     names” should be followed with Hassoun’s further statement that “We have nothing to

     do with them” -- which Hassoun repeated two times to Youssef.

           Additionally, the statement in this paragraph that “Hassoun advised Youssef that

     Abu Fayez may be able to assist in obtaining an iron (firearm)” gives the mistaken

     impression that Abu Fayez was in the business of dealing in arms. Youssef asked

     “Yeah can I request from him (Abu Fayez) the cost of the iron and so on?” Hassoun’s

     reply was “You may take from him…tell him Abu Sayyaf will give you.” Hassoun had

     just mentioned Abu Fayez as someone who was helping the displaced and the

     refugees, and not as a military person.        Furthermore, if there was desire to help

     Youssef obtain a gun, it was for self-defense purposes because he was entering an

     area that was dangerous.

           Objection to PSI ¶95, page 22:

           The sentence in this paragraph that “Youssef told Hassoun to contact Abu

     Musab, the emir of jihad in Kosovo, or Abu Huzayfa, the emir in Tirana” is somewhat

     misleading. Youssef did make a comment “you need to reach out to one or the other,”

                                               15
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 16 of 40




     but Youssef did not tell Hassoun how to reach either person; nor was there any

     evidence that Hassoun got in contact with either.       The reason Youssef made this call,

     besides asking Hassoun to send another $5,000, was to ask Hassoun to call Cairo to

     tell the families of the men with Youssef that the men were okay.

            Objection to PSI ¶96, page 22:

            This paragraph misrepresents the purpose of the described call. In that call, in

     their discussion about Al Naji going to Kosovo, the purpose was understood to be to

     offer humanitarian aid. Thus Hassoun explained, “Whoever goes there, whoever goes

     there, it’s a good thing god willing because there are mosques that need to be fixed and

     opened, there are center to be organized and so on. I mean there is administrative and

     non-administrative work.”

            Objection to PSI ¶99, page 23:

            This statement in this paragraph that “Daher advised he had news from

     Peshawar (Pakistan) that the students (Taliban) gave ‘our friend, the Saudi one’ a

     school” gives the misleading impression that Daher got his news from some base or

     organization in Peshawar. In context, it is clear that Daher was really referring to a

     news organization or a media source.

            Objection to PSI ¶100, page 23:

            Hassoun objects to the inclusion of this entire paragraph in the PSI.          The

     contents of the Bin Ladin interview were not offered for the truth of the matters asserted

     and the contents should not be included in the PSI. The United States, which is the

     subject of this interview, was not part of this case.




                                                  16
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 17 of 40




           Objection to PSI ¶¶126-137, pages 28-30:

           Hassoun objects to the inclusion of these paragraphs in the PSI as they are not a

     part of the Indictment, nor are the relevant to the Sentencing Guidelines calculation.

     Furthermore, as these post-arrest statements were not recorded, and they are simply a

     reflection of an FBI agent’s notes and recollection, they may be unreliable. Therefore,

     they should not be included in the PSI.

           Role Assessment

           Objections to PSI ¶¶138-139, pages 30-31:

           As will be fully argued below under “Adjustment for Role in the Offense,” ¶155,

     Hassoun objects to the assertions in ¶¶ 138-139 that he was a “manager” or

     “supervisor” in the “global Salafi-jihad movement” for which the PSI seeks to hold him

     accountable. On a more specific level, Hassoun objects to the assertion in ¶139 that he

     was a representative of any “mujahideen group”:     his statement at Barry University

     about “representing” various groups was, at most, puffing, and there was no evidence

     that AIG and AWR were “mujahideen groups,” as ¶139 implies. Furthermore, insofar as

     ¶139 uses the phrase “mujahideen operations” to mean murder, kidnaping and

     maiming, Hassoun objects to the implication that he ever money raised for any such

     operations – through the named organizations or otherwise. Indeed, as indicated under

     Objections to PSI ¶11, there was no evidence that any funds from Hassoun were ever

     transmitted to any location overseas for the purpose of furthering “violent jihad” – as

     opposed to the purpose of aiding Muslims who were under attack and victims of

     atrocities. Additionally, insofar as ¶139 uses the term “mujahideen” to mean a person

     who murders, kidnaps or maims, Hassoun objects to the assertion in that paragraph

                                               17
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 18 of 40




     that he ever “recruit[ed]” anyone “to become mujahideen.” Indeed, he never “recruited”

     anyone to become anything. As discussed below, while on a few occasions Hassoun

     talked about travel with Youseff and Padilla, he never exercised the degree of influence

     and control over either of these men that would be necessary to conclude that he

     “recruited” them to do anything, no less to be murderers, kidnapers and maimers.

           Offense Level Computation

           Objection to PSI ¶149, pages 32-33:

           Hassoun objects to the use in ¶149 of the terms “terrorism” and “terrorists” to

     describe the charge in Count Two, as these terms were redacted from the Indictment, at

     the government’s request, before the Indictment went to the jury and, therefore, were

     not part of the charges considered by the jury.

           Objections to PSI ¶154, page 33: Victim-Related Adjustments

           Hassoun objects to the recommendation in ¶154 that he be given an upward

     adjustment of 12 levels pursuant to §3A1.4(a) on the ground that “the offense is a felony

     that involved, or was intended to promote a federal crime of terrorism.” Pursuant to

     Application Note 1 of U.S.S.G. §3A1.4, “[f]ederal crime of terrorism” has the meaning

     given that term in 18 U.S.C. §2332b(g)(5), which contains two elements, as follows:

                  (5) [T]he term “[f]ederal crime of terrorism” means an offense
                  that -
                          (A) is calculated to influence or affect the conduct of
                          government by intimidation or coercion, or to retaliate
                          against government conduct; and
                          (B) is a violation of [a long list of Title 18 statutory
                                                                      3
                          provisions, including §§956(a) and 2339A].

           3
             Section 956(a) was not added to the litany of offenses listed in §2332b(g)(5)
     until October 26, 2001. Pub.L 107-56, Title VIII, § 808, Oct. 26, 2001, 115 Stat.378.
     Therefore, if the Court determines that the jury’s finding of post-October 26, 2001
                                                18
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 19 of 40




     As Hassoun was convicted of offenses under §§ 956(a) and 2339A, the second element

     of the §2332b(g)(5) definition is satisfied.     However, Hassoun submits that the first

     element – known in the case law as “the motivational element” – is not, and cannot be,

     established in this case. In other words, Hassoun submits that the government cannot
                                                                       4
     carry its burden of proving by clear and convincing evidence that his motivation in

     committing any “offense” of which he was convicted5 was “to influence or affect the

     conduct of government by intimidation or coercion, or to retaliate against government

     conduct” (emphasis added).

            The PSI presumably bases its recommendation that §3A1.4 be applied on the

     sweeping assertion in PSI ¶11 that defendants “provided various forms of support to

     mujahideen guerilla and terrorist groups that were opposing, intimidating and coercing,

     through the use of physical force and violence (violent jihad), existing governments,



     “participation” cannot be sustained, Count One will not support the “terrorism”
     enhancement, although the other two counts will.
            4
              Hassoun adopts the argument set forth in the Objections filed on behalf of co-
     defendant Jose Padilla, demonstrating that the proper burden of proof to utilize in
     determining the applicability of the “terrorism” enhancement is at least “clear and
     convincing.” See United States v. Thurston, 2007 WL 1500176, *19 (D.Ore. May 21,
     2007) (holding that “the government must present clear and convincing evidence that
     defendants’ offenses of conviction involved or were intended to promote ‘federal crimes
     of terrorism’ as defined under §2332b(g)(5)(B)” (emphasis added)). The dissenting
     opinion in United States v. Graham, 275 F.3d 490 (6th Cir. 2001) would go even further;
     it held that “the district court should at least be required...to make findings based on a
     detailed articulation of facts found beyond a reasonable doubt in justification” of
     imposition of the “terrorism” enhancement. Id. at 540-541 (dissent)(emphasis added).
            5
            Note that §3A1.4 specifically refers to “the offense” so that, unlike “role in the
     offense” which will be discussed below, the applicability of the “terrorism” enhancement
     depends exclusively upon the facts of the offenses of conviction, not upon facts
     included in “relevant conduct.”
                                                 19
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 20 of 40




     individuals and institutions that did not share [his] view of Islam” (emphasis added).

     However, as discussed above under Objections to PSI ¶11, there was no evidence that

     any checks Hassoun wrote or funds or other items he discussed in various calls were

     ever transmitted to any location overseas for the purpose of “establishing Islamic states”

     or for the purpose of “intimidating [or] coercing” governments through “violent jihad” – or

     through any other means. Nor was there any evidence that Hassoun provided any

     support to anyone “to retaliate against government conduct.” Just as a desire to aid

     Muslims who were under attack respond by “opposing” their attackers is not equivalent,

     legally or factually, to having a purpose of “intimidating [or] coercing” governments, it is

     also not equivalent, legally or factually, to having a purpose of “retaliat[ing] against

     government conduct.” A desire to aid attacked Muslims by “opposing” their attackers is,

     at most, a desire to help Muslims defend themselves – and that is simply not the same

     as the very specific motivation required by the “terrorism” enhancement.6

            Moreover, although Gunaratna opined about the activities of various mujahideen

     “groups,” nothing he said linked Hassoun, or any other defendant, to any of those

     “groups” or established that Hassoun, or any other defendant, said or did anything with

     a purpose to intimidate, coerce or retaliate against any government – as opposed to a

     purpose of aiding Muslims who were under attack and victims of atrocities.7



            6
             As at trial, by referencing the desire to help Muslims defend themselves,
     defense counsel does not raise the “affirmative defense of justification” but, rather,
     points out the mental state that must be considered.
            7
             Gunaratna’s testimony about the activities of Usbat al Ansar is particularly
     irrelevant as he did not even assert that those activities were directed “against the
     government.” See Tr. 6/26/07:92 (“Usbat al Ansar attacked...nightclubs, bars,
     restaurants, liquor stores, and...other organizations”); Tr. 6/28/07:88 (repeated same
                                                 20
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 21 of 40




            The sweeping, unsupported assertion that appears in ¶11 is thus patently

     insufficient to support the application of §3A4.1. And this is particularly clear when other

     cases which have dealt with §3A4.1 are reviewed. See United States v. Awan, 2007

     WL 2071748 (E.D.N.Y. July 17, 2007) (district court held that, even though evidence

     supported jury-finding that “defendant knowingly served as a conduit for funds being

     transferred from the United States to Pakistan in support of the Khalistan Commando

     Force (‘KCF’), a separatist movement which seeks to establish an independent Sikh

     state in Punjab, India, and that defendant was aware of KCF’s use of violent means to

     further their cause,” id. at *1n.1, it was “speculative to conclude that the defendant...was

     motivated by a desire to influence the policies of the Indian government or retaliate for

     some unspecified wrong,” and, accordingly, “the motivational element of a ‘federal crime

     of terrorism’ [was] not demonstrated by a preponderance of the evidence,” id. at *4

     (emphasis added)); United States v. Arnaout, 282 F.Supp.2d 838 (N.D. Ill. 2003), rev’d

     on other grnds, 471 F.3d 994 (where defendant admitted to “provid[ing] aid to militia

     [i.e., mujahideen] in Bosnia and Chechnya,” id., 282 F. Supp. 2d at 840, district court

     nonetheless refused to apply §3A4.1 because the government did “not establish[ ] that

     the Bosnian or Chechen recipients of [the] aid were engaged in the federal crime of

     terrorism, nor that [defendant] intended the donated boots, uniforms, blankets, tents x-

     ray machine, ambulances nylon and walkie-talkies to be used to promote a federal

     crime of terrorism,” id. at 845 (emphasis added)).

            Cf. United States v. Aref, 2007 WL 804814 (N.D.N.Y. March 14, 2007) (court

     found “terrorism” enhancement applicable – although it departed and varied downward


     testimony); Tr. 7/10/07:153 (same again).
                                                 21
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 22 of 40




     from the resultant guidelines sentence – where “the evidence established that

     [defendant] committed the crimes believing that Jaish-e-Mohammad..., the group that

     purportedly received the SAM, was intending to deploy it against the Pakistani

     Ambassador in order to teach the President of Pakistan a lesson”); United States v.

     Mandhai, 375 F.3d 1243, 1248 (11th Cir. 2004) (application of §3A4.1 not error where

     “there was substantial evidence....[that defendant’s] goal was to bomb and disable

     public utilities in the hopes that power outages would lead to civil strife and upheaval on

     the streets of Miami”....[and] [h]e planned to demand the release of Muslim prisoners

     and changes in the government’s foreign policy after the bombings....” – although the

     Eleventh Circuit “agree[d] with the district court...that the 12 level increase to

     [defendant’s] offense level required by the terrorism enhancement prevent[ed] the

     penalty from fitting the crime...,” and thus remanded the case for a determination as to

     whether factors existed “sufficient to remove [ this pre-Booker] case from the Guidelines

     ‘heartland’”).

            As these precedents demonstrate, the “terrorism” enhancement should be

     applied only where detailed factual findings support the conclusion – clearly and

     convincingly – that the motivational element of that enhancement is established. Here,

     no such detailed factual findings can be made because no evidence exists that

     Hassoun possessed the very specific motivation which that element requires.

            Objections to PSI ¶155, page 33: Adjustment for Role in the Offense:

            Hassoun objects to the recommendation in ¶155 that he be given an

     “aggravating role” enhancement of three-levels pursuant to §3B1.1(b) on the ground

     that he “was a manager or supervisor (but not an organizer)...[in] the criminal activity....”

                                                  22
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 23 of 40




     And he further objects to the PSI’s failure to recommend that he be given a downward

     adjustment of two or four-levels for “mitigating role,” pursuant to §3B1.2.            The

     Guidelines provide that a defendant’s role in the offense – whether aggravating or

     mitigating – should be evaluated “on the basis of all conduct within the scope of § 1B1.3

     (Relevant Conduct), i.e., all conduct included under § 1B1.3(a)(1)-(4), and not solely on

     the basis of elements and acts cited in the count of conviction.” U.S.S.G. Ch. 3, Pt. B,
                               8
     intro. (emphasis added).      As will be demonstrated below, when Hassoun’s role is

     evaluated in the context of the “relevant conduct” attributed to him by the PSI, it

     becomes clear that he did not play the role of a “manager” or “supervisor” at all, but,

     rather, if anything, played a minor, if not minimal, role in the overarching “course of

     conduct or common scheme or plan” surrounding “the offense of conviction.” U.S.S.G.

     § 1B1.3(a)(2).

            1) Objection to upward adjustment for “manager/supervisor” role

            The PSI seeks to hold Hassoun responsible for participating in a gargantuan,

     decade-long conspiracy, in which Usama Bin Laden led a “global Salafi-jihad

     movement” in which countless Islamic mujahideen-fighters supposedly sought to

     establish Islamic states around the world through the commission of murder, kidnaping

     and maiming.      See PSI ¶¶ 4-11.       Full consideration of this “relevant conduct”

            8                                                             th
             See, e.g., United States v. Bennet, 368 F.3d 1343, 1358 (11 Cir.2004) (in
     considering enhancement under §3B1.1(b) “the elements and acts in the counts of
     conviction are considered as well as all ‘relevant conduct’”); United States v. Holland, 22
                            th
     F.3d 1040, 1045 (11 Cir. 1994) (in determining whether to apply an enhancement
     under §3B1.1, “the court’s inquiry is not confined solely to the defendant’s behavior
     comprising the actual offense charged[;] [r]ather,....the court must consider, in addition
     to the criminal act itself, the individuals’ involvement in the events surrounding the
     criminal act”). See also United States v. Rodriguez De Varon, 175 F.3d 930, 940-941

                                                 23
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 24 of 40




     demonstrates that the PSI misapplies the “manager/supervisor” label to Hassoun.

           In determining whether the § 3B1.1(b) enhancement should apply,

                   [f]actors the court should consider include the exercise of
                   decision making authority, the nature of participation in the
                   commission of the offense, the recruitment of accomplices,
                   the claimed right to a larger share of the fruits of the crime,
                   the degree of participation in planning or organizing the
                   offense, the nature and scope of the illegal activity, and the
                   degree of control and authority exercised over others.

     U.S.S.G. §3B1.1, comment. (n.4). Consideration of these factors, in the context of the

     nature and extent of this “global Salafi-jihad movement,” show that Hassoun did not

     have the requisite duties, responsibilities and/or control to be considered a manager or

     supervisor.

           Hassoun made no decisions as to where, when or how anything in the “global

     Salafi-jihad movement” occurred or was to occur.             The PSI casts him as a

     “representative of AIG and AWR.” PSI ¶139.9 But all that he did in that capacity was try

     to spread the word about the plight of Muslims around the world and raise funds for that

     plight. The “nature of [Hassoun’s] participation” in the “global Salafi-jihad movement”

     was thus, at most, as a talker – as someone who spoke out on behalf of his fellow

     Muslims who were under attack – and as a fund-raiser for Islamic charitable

     organizations. However, there was no evidence that any fund-raising done by Hassoun

     ever resulted in funds being transmitted to any location overseas for the purpose of



     (11th Cir.1999) (applying same method to consideration of minor role).
           9
            The PSI ¶139 also asserts that Hassoun was a “representative” of “other
     “mujahideen groups.” But, as discussed above under Objections to ¶139, Hassoun’s
     statement at Barry University about “representing” various groups was, at most, puffing,
     and there was no evidence that AIG and AWR were “mujahideen groups.”
                                                 24
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 25 of 40




     furthering “violent jihad.”      Furthermore, Hassoun played no role “in planning or

     organizing” any “violent jihad.” Nor did he exercise any “control and authority” over

     anyone. Indeed, his suggestions to co-defendants that they go to particular places at

     particular times were not even heeded.       (For example, he asked Youssef to go to

     Somalia in the fall of 1996 but Youssef did not do so; and he asked Padilla to come

     back to the United States in the spring of 2000, but Padilla did not do so.)

             The only other factor the PSI points to support its recommendation for a role

     enhancement is the assertion that Hassoun “recruit[ed]...others, including Youseff and

     Padilla, to become mujahideen [– by which the PSI means “murderer, kidnaper and

     maimer” – ] and supported them financially.” See PSI ¶139. But the actual evidence at

     trial tells a different story.

             Although Hassoun asked Youssef to go to Somalia in the fall of 1996, his reason

     for doing so was to have Youssef obtain information about what was going on in that

     area with regard to the plight of Muslims who were being attacked by the Ethiopian

     army. See call on 12/31/96 (GX 75TR). Furthermore, nothing in the evidence provides

     a basis to conclude that Hassoun wanted Youssef to commit murder, kidnaping or

     maiming in Somalia. Nor did Youssef, in fact, go to Somalia, thus undermining any

     claim that any recruitment actually occurred in connection with that location.

             With respect to Kosovo, the record is clear that Youssef made the decision on his

     own to travel to that location. Indeed, Youssef told Hassoun he was going and asked

     Hassoun for financial assistance to make the trip. See, e.g., calls on 6/17/98 (GX

     94TR) and 6/25/98 (GX. 97TR).         That is not “recruitment.”   Nor does the fact that

     Hassoun sent Youssef money for the trip change that conclusion: to assist is not to

                                                 25
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 26 of 40




     “recruit.”   And, in any event, there is no evidence that Hassoun ever intended that

     Youssef commit murder, kidnaping or maiming in Kosovo. Assuming that “the iron” in

     the 6/35/98 call was a gun, Yousef would have needed a gun to protect himself in such

     a dangerous place. Nor is there any evidence that Youssef engaged in any murder,

     kidnaping or maiming in Kosovo. Indeed, his discussion of the fighting in Kosovo was

     merely a description of what he observed – not even a description of what he did. See

     calls on 7/18/98 (GX 100TR) and 8/10/98 (GX 104TR).

             Similarly, with respect to Youssef’s travel to Chechnya, the calls make clear that

     the idea was all Youssef’s and that Hassoun was merely told by Youssef of his plan to

     go to Chechnya after Youssef had made that plan on his own. See two calls on 9/3/00

     (GX 118TR and GX 119TR). Furthermore, as described in ¶ 121, it was Youssef who

     told Hassoun what to do, who to call (Abu Hamza) and what to say to him. It was

     Youssef who was telling Hassoun what to do, not the other way around. See call on

     10/15/00 (GX 100TR).       Nor can the mere fact that Chechnya was a place where

     mujahideen were fighting render a plan to go there a plan to commit murder, kidnaping

     and maiming – for fighting is not the same as those other activities.

             The evidence with respect to Hassoun’s dealings with Padilla is even less

     susceptible to an interpretation of mujahideen-“recruitment.” While Hassoun may have

     encouraged Padilla to go to Egypt, the purpose in Padilla’s doing so was to study Arabic

     and the Islamic religion. This is not only clear from the calls (see calls on 8/17/98 (GX

     105TR) and 8/29/98 (GX 107TR)); it is corroborated by classified statements from the

     brig.   Moreover, as the government and Court well know, the Uways statement

     establishes that it was not Hassoun but, rather, a “facilitator” whom Padilla met at the

                                                 26
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 27 of 40




     Hajj in early 2000 who “convinced [Padilla] to come with him to Yemen...so that he

     could then travel to join the second jihad in Afghanistan“ (see unclassified Uways

     statement [DE 914] (emphasis added)) – and that “faciliator” was someone with whom

     Hassoun had absolutely no connection. Furthermore, when Padilla told Hassoun, in

     April 2000, that he was thinking about going to Yemen, Hassoun proposed to Padilla

     that he come to the United States instead. See call on 4/10/00 (GX 117TR). This was

     not “recruitment” for Padilla “to become [a] mujahideen”; if anything, it was a failure to

     “recruit” Padilla to return home.

            In any event, even if the Court were to view Hassoun’s conversations with

     Youssef and Padilla as evidence of “recruitment” of those two individuals,10 that is

     simply not sufficient to qualify Hassoun as a “manager” or “supervisor” in the context of

     the “global Salafi-jihad movement” as a whole, which, as recounted in the PSI, must

     have involved a cast of thousands operating world-wide.        The enhancement under

     §3B1.1(b) requires that a defendant do far more than merely “recruit” an infinitesimal

     proportion of the members of the conspiracy; it requires that the defendant exercise

     control and authority over a significant proportion of the activity comprising the

     conspiracy.    Cf., e.g., United States v. Adetona, 2007 WL 3001826 (11th Cir.

     Oct.16,2007) (§3B1.1(b) enhancement upheld where defendant “was in charge of the

     [credit-card fraud] conspiracy for months at a time while [the head of the operation]



            10
               The only other possible candidate for a claim of “recruitment” by Hassoun was
     Herbert Atwell. But although Atwell, in response to a leading question, testified that
     Hassoun spoke about “the subject” of “brothers” becoming “mujahideen fighters,” he did
     not testify that Hassoun “recruited” him. To the contrary, he testified that
     “encourage[ment]” to become a “mujahideen fighter” came from “a lot of brothers in
     general.” Tr.6/04/07:16-17, 24-25.
                                                27
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 28 of 40




     traveled”; “discussed strategy,” including selection of victim banks; “initiated” a particular

     credit card “deal”; “received a one-third share of the profit on deals he participated in”;

     and “supervised” three named co-conspirators and others (italics in original)); United

     States v. Gallashaw, 2007 WL 28328 (11 th Cir. Jan. 4, 2007) (“district court did not

     clearly err [in] applying [three-level] upward adjustment under §3B1.1.(b)” where

     defendant “(1) was second in command in the [gang] hierarchy; (2) paid other members

     of the gang; (3) dictated the amount of drugs to be packaged for distribution; (4) stored

     drugs for the [gang members] at his home; and (5) recruited [gang] members”
                                                                                     th
     (emphasis added)); United States v. Zuniga, 228 Fed. Appx. 954 *1 (11                Cir. 2007)

     (“district court did not clearly err in applying three-level aggravating role enhancement”

     where defendant “‘assert[ed] control or influence’ over the distribution of cocaine once it

     was delivered from Colombia to Jamaica, using others to unload, transport, and sell

     cocaine in Jamaica, and over the drug-sale proceeds back to Colombia, using other to

     personally transport the money”); United States v. Middlebrook, 221 Fed. Appx. 888
        th
     (11 Cir. 2007) (§3B1.1(b) enhancement upheld in bank robbery case where defendant

     “recruited one of the robbery’s participants, attended planning meetings for the robbery,

     and directed the activity within the bank itself” – in other words, where defendant played

     a role that was central to the crime at issue). Compared to the roles played by the

     defendants who received §3B1.1.(b) enhancements for manger/supervisor in these

     reported cases, the role Hassoun played in the “relevant conduct” in this case was

     insignificant at best.




                                                  28
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 29 of 40




            2) Objection to failure of PSI to recommend reduction for minor role

            In determining whether a defendant qualifies for a downward adjustment in

     offense level for “mitigating role” under §3B1.2, the Guidelines direct that the district

     court determine whether the defendant was “substantially less culpable than most other

     participants in the relevant conduct.” Rodriguez De Varon, 175 F.3d at 944 (emphasis

     added).    Hassoun submits that even if the Court were to impose a §3B1.1(b)

     enhancement, he is still entitled to a reduction for minor or minimal role on the ground of

     his relatively low-level culpability in the “relevant conduct” as a whole. As the Eleventh
                                                                               th
     Circuit recognized in United States v. Perry, 340 F.3d 1216, 1218 (11 Cir. 2003), at

     least two circuits have held that “aggravating and mitigating roles in the offense – as

     defined by the Guidelines – can ‘coexist’” (emphasis added). Thus, the Third Circuit

     held in United States v. Tsai, 954 F.2d 155, 167 (3rd Cir. 1992), that an “assumption”

     that an upward adjustment for role foreclosed a “downward adjustment for less than

     average culpability” was “incorrect,” stating “[n]othing in the Guidelines or in the

     enabling legislation...compels that conclusion.” Similarly, the Seventh Circuit in United
                                              th
     States v. Jackson, 207 F.3d 910, 922 (7 Cir. 2000), rev’d in part on other grounds, 531

     U.S. 953 (2000), held that §3B1.2 “does not say that a manager or supervisor cannot be

     a minor participant; all that is required is that [defendant] be less culpable than most of

     the other participants.”

            Not reaching the merits of this “co-existence” issue as it had not been briefed, the

     Eleventh Circuit in Perry remanded the case to the district court to consider “both the

     legal and factual issues concerning the defendant’s request for a minimal or minor role

     reduction.” 340 F.3d at 1219. On remand, the District Court ruled that “it is not a legal

                                                   29
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 30 of 40




     impossibility to have [a] minimal or minor adjustment even if you find an aggravating

     role in the case.” United States v. Perry, CR 02-00109, S.D. Alabama, Jan. 13, 2004,

     Resentencing, Transcript at 3, excerpt attached as Ex A (emphasis added).

           Hassoun objects to the failure of the PSI to recommend a two, if not four, level

     reduction in his offense level for “mitigating role” based on the relatively minor, if not

     minimal, role he played in the “global Salafi-jihad movement.” As noted above, the PSI

     seeks to hold Hassoun responsible for “relevant conduct” consisting of a gargantuan,

     decade-long conspiracy, in which Usama Bin Laden led a “global Salafi-jihad

     movement” involving countless Islamic mujahideen-fighters who supposedly sought to

     establish Islamic states around the world through the commission of murder, kidnaping

     and maiming. For his part, Hassoun neither committed, ordered, oversaw or trained

     anyone to commit any acts of violence of any sort – including any acts of murder,

     kidnaping or maiming. Nor did Hassoun ever seek or receive material or any kind of

     personal gain from the outcome of any such acts. To the extent that Hassoun is viewed

     as having encouraged or financially supported any travels of Youssef and/or Padilla,

     there is no evidence that Hassoun understood such travels to be for the purpose of

     committing murder, kidnaping or maiming – or that any such acts were ever committed

     or intended by either of these co-defendants. Furthermore, although Hassoun raised

     money for Islamic charities, there is no evidence that any of that money ever, in fact,

     funded any “violent jihad” activity anywhere.

           Moreover, insofar as acts committed by others as part of the “global Salafi-jihad

     movement” are considered acts of murder, kidnaping and maiming, the commission of

     such acts occurred without Hassoun’s participation, assistance or even his advance

                                                 30
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 31 of 40




     knowledge. Indeed, even if Hassoun is viewed as having expressed approval of such

     acts when he commented on news reports or first-hand accounts of fighting in various

     jihad theaters, such expressions were limited to review of past acts and did not

     constitute plans for, or even thoughts about, future acts.      In other words, Hassoun

     played no role whatsoever in the planning or commission of such acts. Compared to

     the other participants in the “global Salafi-jihad movement” – including such participants

     as the overall leader, Usama bin Ladin; other leaders who presumably planned and

     coordinated strategies; commanders of “mujahideen groups”; and those who committed

     the acts of “murder, kidnaping and maiming,” if any, ascribed to the “movement” –

     Hassoun contributed substantially less to the success of the “relevant conduct.”

     Accordingly, Hassoun was substantially less culpable than the vast majority of these

     other participants and should receive a minor, if not a minimal, role reduction as allowed

     by the Sentencing Guidelines.

            Objection to PSI ¶157, page 34: Adjusted Offense Level (subtotal):

            Hassoun objects to the recommendation in ¶157 that his Adjusted Offense Level

     be calculated as 43.     If, as Hassoun urges, his Base Offense Level of 28 is not

     increased 12 levels for the “terrorism” enhancement, his Adjusted Offense Level will be

     31; if, in addition, his Base Offense Level is not increased 3 levels for aggravating role,

     and/or if he receives a 2 or 4 level reduction for mitigating role as well, his Adjusted

     Offense Level will be anywhere from 24 to 29.

            Objection to PSI ¶160, page 34: Total Offense Level:

            Hassoun’s objection to ¶160 is the same as his objection to ¶157.




                                                 31
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 32 of 40




     PART B: THE DEFENDANT’S CRIMINAL HISTORY

            Criminal History Computation

            Objections to PSI ¶164, page 34:

            Hassoun objects to his assignment in ¶165 to a Criminal History Category of VI.

     While aware that application of the “terrorism” enhancement calls for such an

     assignment, Hassoun submits that even if that enhancement is applied to him – which,

     as discussed above, he vigorously opposes – he should receive a horizontal departure

     to Criminal History Category I under §4A1.3.        That Guidelines’ provision expressly

     permits such a horizontal departure when a criminal history category substantially over-

     represents the seriousness of a defendant’s criminal history, as Category VI does here.

            In United States v. Aref, 2007 WL 804814 (N.D.N.Y. March 14, 2007), after

     applying the “terrorism” enhancement, the district court found that “a criminal history

     category of VI d[id] substantially over-represent the seriousness of [that defendant’s]

     criminal history” as he had “received zero criminal history points[,]...ha[d] provided for

     his family until his arrest through lawful employment..., and there [was] no indication that

     he ha[d] engaged in any other criminal activity in this country....” Id. at *3. Accordingly,

     the court in Aref found that “[b]ased upon [defendant’s] lack of prior criminal history, and

     his personal characteristics [regarding prior employment],....his circumstances [were]

     extraordinary and [therefore] a downward departure [was] warranted to a criminal

     history category of I.” Id. The same analysis applies to Hassoun’s situation and he

     urges the Court to reach the same result.




                                                 32
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 33 of 40




     PART C: OFFENDER CHARACTERISTICS

            Objection to Revised PSI ¶176, page 36:

            Hassoun objects to the implication in the way this paragraph is worded that his

     federal “custody” commenced on October 7, 2004, when he was “indicted for the instant

     federal offenses.” He was indicted on the federal firearm offense on January 12, 2004.

     However, Hassoun has been, in reality, in continuous federal custody since June 12,

     2002. His initial arrest and detention on that date, although ostensibly conducted by the

     INS, were in fact initiated and instigated by the FBI, who interrogated him and searched

     his home on that date and, shortly thereafter, submitted charges alleging “terrorism” to

     the Immigration Court via a Declaration presented by FBI Agent Andrew Arena.11

     Based on that Declaration, Hassoun was denied immigration bond and, hence,

     remained in custody on the very same allegations that eventually found their way into

     the Indictment in this case.

     PART E: FACTORS THAT MAY WARRANT A DEPARTURE

            Objection to PSI ¶215, page 42:

            Hassoun objects to the assertion in ¶215 that no factors may warrant a

     departure.   Hassoun has separately filed a request that the Court sentence him below

     his advisory sentencing-guideline range based on the sentencing factors set forth in 18

     U.S.C. §3553, as well as a request for a formal downward departure under §5K2.10.



            11
               As the PSI explicitly recognizes, although he had “failed to maintain his student
     status,” PSI ¶126, Hassoun was here in this country as “a legal resident,” PSI ¶184. At
     the time of his initial arrest, Hassoun had a pending application for permanent resident
     status which he had filed in 1996, based on a petition submitted by his mother who was
     a naturalized citizen.


                                                 33
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 34 of 40




     ADDENDUM TO THE PRESENTENCE REPORT

            Throughout the Addendum, the “Probation Officer’s Responses” simply accept,

     adopt, and parrot the arguments and factual assertions that appear in the government’s

     Sentencing Memorandum [DE 1280]. Not only does “the probation office” acknowledge

     that it has “[no]…independent and/or additional information concerning the offense”

     (Addendum at 2); it is clear from a comparison between the Addendum and the

     government’s Sentencing Memorandum that “the probation office” has no independent
                 12
     view at all.     The Addendum, therefore, provides the Court with no assistance.     It

     simply adds a partisan vote to the government’s side of an adversarial argument.

     Hassoun therefore objects in general to all of the “Probation Officer’s Responses” that

     appear in the Addendum and urges the Court to give them no weight whatsoever.

            Because, for the most part, the Addendum simply copies the factual assertions

     and legal arguments made by the government, Hassoun’s separately filed reply to the

     government’s Sentencing Memorandum will suffice to document Hassoun’s more

     specific objections to the Addendum. He must, however, point out several assertions in

     the Addendum – all cribbed from the government – that are so fundamentally fallacious

     that they cannot go unanswered.




            12
              The Addendum literally copies large segments of DE 1280 (although in doing
     so it sometimes puts the paragraphs in a different order, uses paraphrases and omits
     record citations). For example, the discussion of role at Addendum pages 5-6 copies
     DE1280: 25-26, 29-30; and the discussion of the “terrorism enhancement” at Addendum
     pages 8-11 copies DE 1280:12-21.


                                               34
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 35 of 40




                                                                                              13
            ● The Addendum at page 5 (paraphrasing the government at DE 1280:27 )

     states that “Although some of the violence connected to the wider global Salafi jihad

     movement was mentioned at trial, and in the Offense Conduct section of the

     presentence report, the global violence/conspiracy was not attributed as relevant

     conduct to any defendant in this case.” This is nonsense. First, “the violence connected

     to the wider global Salafi jihad movement” was not just “mentioned” at trial; it was the

     central, repetitive drum-beat of Gunaratna’s so-called “expert” testimony. Second, if

     “the global violence/conspiracy” was “not attributed” to any defendant in this case, then

     what were they found guilty of? What was the alleged conspiracy to murder, kidnap and

     maim if not precisely “the global violence/conspiracy” that the Addendum now wants to

     suggest can be ignored when considering the defendants’ “role in the offense.” This is

     intellectual dishonesty at its worst.

            ● The Addendum at page 9 offers as support for application of the “federal crime

     of terrorism” enhancement the claim (paraphrasing the government at DE 1280:1614)

     that “[a]s specified in the lndictment, the defendants’ activities were meant to displace or

     alter governments that did not adhere to Sharia law.” (Emphasis added).                The

     Addendum then points to two passages in the Indictment (quoted by the government at

     DE 1280:17), which supposedly reflect that “specification,” both of which speak of “the

            13
              The government’s exact sentence at DE 1280:27 is: “But the violence
     committed by these participants in the wider global Salafi jihad movement, while
     relevant as background to demonstrate the defendants’ intent, has not been attributed
     to them as relevant conduct.”
            14
              The government’s exact sentence at DE 1280:16 is “Overall, and in specific
     instances, the defendants’ activities were meant to displace or alter governments that
     did not adhere to Sharia law.”

                                                 35
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 36 of 40




     purpose of opposing existing governments.” (Italics in Addendum). But not only is it

     logically incorrect to assert that seeking to “displace or alter” is the same as “opposing”

     governments; “displace or alter” does not appear in the Indictment in any event.

           Moreover, a “purpose of opposing” government, which does appear in the

     Indictment, is not equivalent to the mental element of the “terrorism” enhancement.

     That element requires proof that defendants’ actions were “calculated to influence or

     affect conduct of government by intimidation or coercion or to retaliate against

     government conduct” – i.e., proof of a specific, multi-faceted mental element which

     entails both a goal of “influencing” or “affecting” the “conduct of government,” and also

     the selection of a specific means to achieve that end.       Mere “opposition” does not

     satisfy that element. The Addendum’s knee-jerk acceptance of the government’s

     fallacious analysis should be rejected.

           ● In a related analytical error, the Addendum at page 11 (paraphrasing the

     government at DE 1280:21) states that although defendants “contend their actions were

     meant only to protect oppressed Muslims in conflicts overseas[,] [t]he motivational

     factors for the [defendants’] behavior does not change the fact that their actions were

     intended to retaliate or influence governmental conduct.”        This statement – which

     accepts defendants’ account of their “motivational factors” but then dismisses those

     factors as irrelevant to the defendants’ “intent” – stands the mental element of the

     “terrorism” enhancement on its head. That element, as defined in the law, is precisely a

     “motivational element,” not an intent element. Indeed, the Conference Report on the

     legislation that directed the Sentencing Commission to enact the “federal crime of




                                                 36
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 37 of 40




     terrorism” enhancement used that specific phrase, stating that the “new provision [will

     be] applicable only…upon conviction of [specifically listed crimes] with the necessary

     motivational element to be established at the sentencing phase of the prosecution.”

     Awan, 2007 WL 2071748 at * 2, quoting 142 Cong. Rec. H3305-01, H3337 (April 15,

     1996) (italics in Awan). See also, e.g., United States v. Benkhala, 501 F. Supp. 2d 748

     752 (E.D. Va. 2007) (referring to “motivational element”). So, contrary to the

     Addendum’s assertion, while defendants’ “intent” is obviously relevant to whether they

     committed the crimes charged, “[t]he motivational factors for the[ir] behavior,” not their

     intent, is precisely what matters when it comes to deciding whether the “terrorism”

     enhancement applies.15

           ● In arguing that the absence of “a specific identifiable victim” precludes a

     departure under §5K2.10 in this case, the Addendum at page 14 (paraphrasing the

     government at DE 1280:41) states that “the Court instructed the jury that these offenses

     did not require an identifiable victim[;] [i]nstead, the defendants’ scheme included
                                                                     16
     anyone [as contemplated victims] who opposed violent jihad.”         This is, of course, an

     absurd statement. The category of “anyone who opposed violent jihad” would

     encompass everyone in the world who thought “violent jihad” was a bad idea –



           15
               While Hassoun urges the Court to follow Thurston, 2007 WL 1500176, at *19,
     and the dissent in Graham, 275 F.3d at 540-541, as well as the arguments made by
     Padilla, and apply the “clear and convincing” standard to the “terrorism enhancement”
     decision, see supra at 20, Hassoun submits that, even under a preponderance of
     evidence standard, the government cannot meet its burden of proof on this issue.
           16
              The government’s exact sentence at DE 1280:41 is that the Court’s “instruction
     …dovetailed perfectly with the proof, which establish [sic] that the contemplated victims
     of the defendants’ scheme included anyone who opposed violent jihad.”


                                                37
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 38 of 40




     presumably the overwhelming majority of all people. While the government was not

     required to prove the identify of specific individual “victims” to prove its charge of

     conspiracy to murder, kidnap and maim, it was required to prove that at least some

     identifiable “broad categories of alleged victims” were “contemplated.”17 Indeed, if no

     categories of “victims” could be identified, there would be no conspiracy to murder,

     kidnap and maim as those offenses cannot occur – and hence cannot be planned –

     without victims. “[A]nyone who opposed violent jihad” simply does not qualify as an

     identifiable category of “victims.”   However, as there were identifiable categories of

     “victims,” first set forth in the Bill of Particulars, then described by Gunaratna, a

     departure under §5K2.10 is available if, as the defense submits, there is a

     preponderance of evidence that the “wrongful conduct” of those categories of victims

     “contributed significantly to provoking the offense behavior.”




            17
              See government’s Bill of Particulars, which identified the “broad categories of
     alleged victims.”
                                                 38
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 39 of 40




                                           CONCLUSION

            For all the foregoing reasons, defendant Adham Amin Hassoun respectfully

     requests that this Court refuse to upwardly adjust his base offense level of 28 for either

     the “terrorism” enhancement or an aggravating-role enhancement but, instead, reduce

     that level by 2 or 4 points for mitigating role, thus setting his advisory guideline at level

     24 or 26, which, with a Criminal History Category of I, translates into a sentencing range

     of either of 51-63 months or 63-78 months.



                                        Respectfully submitted,


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                                        By:                 /s/
                                        Jeanne Baker


                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on December 3, 2007, I electronically filed the
     foregoing document with the Clerk of the Court using CM/ECF and simultaneously
     served the foregoing document on all counsel of record identified on the attached
     Service List via transmission of Notices of Electronic Filing generated by CM/ECF.
                                                                     _____              /s/
                                                                           Jeanne Baker



                                                  39
Case 0:04-cr-60001-MGC Document 1284 Entered on FLSD Docket 12/03/2007 Page 40 of 40




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                                        40
